B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Oregon
 In re       Scott Edward Hicks                                                                               Case No.      18-63610-pcm7
                                                                              Debtor(s)                       Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  8,600.00
             Prior to the filing of this statement I have received                                        $                  8,600.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of ONE
                 reaffirmation agreement and applications as needed.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               All work perfomred after the 341(a) Meeting of Creditors to be performed at the Firm's regular hourly rates
               including preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household
               goods. Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
               actions or any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 7, 2018                                                         /s/ Michael D. O'Brien
     Date                                                                     Michael D. O'Brien
                                                                              Signature of Attorney
                                                                              Michael D. O'Brien & Associates, P.C.
                                                                              12909 SW 68th Parkway, Suite 160
                                                                              Portland, OR 97223
                                                                              503-786-3800 Fax: 503-272-7796
                                                                              enc@pdxlegal.com
                                                                              Name of law firm




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                                                 Case 18-63610-pcm7             Doc 15         Filed 12/11/18
                                                                 UNITED STATES BANKRUPTCY COURT
                                                                        DISTRICT OF OREGON
 In re                                                                  )   Case No.   18-63610-pcm7                 (If Known)
 Scott Edward Hicks                                                     )
                                                                        )   CHAPTER 7 INDIVIDUAL DEBTOR'S*
                                                                        )   STATEMENT OF INTENTION(S)
 Debtor(s)                                                              )   PER 11 U.S.C. §521(a)

IMPORTANT NOTICES TO DEBTOR(S):
1.Complete, sign and file this form even if you have no debts secured by property of the estate or personal property subject to unexpired leases. If
creditors are listed, make sure the certificate of service is completed.
2. Failure to perform the intentions as to property stated below within 30 days after the first date set for the Meeting of Creditors
under 11 USC §341(a) may result in relief for the creditor from the Automatic Stay protecting such property.

PART A - Debts secured by property of the estate. (Part A must be fully completed for each debt which is secured by property of the estate. Attach
additional pages is necessary.)


   IF NONE - Check this box.
 Property No. 1
 Creditor's Name:                                                                      Describe Property Securing Debt:
 Ally Bank                                                                             2018 Mazda CX5 12000 miles
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 2
 Creditor's Name:                                                                      Describe Property Securing Debt:
 Citadel Servicing Corporation                                                         5790 Merrill Lane Salem, OR 97304 Yamhill County.
                                                                                       Arrears est. at $23,150
                                                                                       Value per Zillow and Redfin
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) Retain and Pay Pursuant to Contract

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.




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                                                 Case 18-63610-pcm7               Doc 15      Filed 12/11/18
 Property No. 3
 Creditor's Name:                                                                  Describe Property Securing Debt:
 Fifth Third Bank                                                                  2017 Mazda CX5 15000 miles
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 4
 Creditor's Name:                                                                  Describe Property Securing Debt:
 Freeclarke, LLC                                                                   2nd Mortgage on 2740 Summermill Lane, Idaho
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 5
 Creditor's Name:                                                                  Describe Property Securing Debt:
 Harley-Davidson Credit                                                            2014 Harley Davidson Ultra classic 4500 miles
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 6
 Creditor's Name:                                                                  Describe Property Securing Debt:
 Internal Revenue Service                                                          5790 Merrill Lane Salem, OR 97304 Polk County
                                                                                   Value per average of Zillow and Redfin
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) Retain and Pay Pursuant to Contract

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.




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                                                 Case 18-63610-pcm7             Doc 15    Filed 12/11/18
 Property No. 7
 Creditor's Name:                                                                  Describe Property Securing Debt:
 John Deere Credit Services                                                        John Deere Model 3825 Tractor
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 8
 Creditor's Name:                                                                  Describe Property Securing Debt:
 McCarthy Capital Inc.                                                             Secured by $500,000 2nd Mortgage lien on real property
                                                                                   located at 5790 Merrill Lane, Salem, OR (disputed) and
                                                                                   secured by Baymont Hotel owned by KMH Inc. and 2nd
                                                                                   mortgage on 2531 W. Baywoods Rd. and 2nd on five
                                                                                   acres on W. Summerhill Rd.
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 9
 Creditor's Name:                                                                  Describe Property Securing Debt:
 Nationstar Mortgage, LLC                                                          2531 W. Baywoods Rd. Coeur D Alene, ID 83814
                                                                                   Kootenai County
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) Retain and Pay Pursuant to Contract

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 10
 Creditor's Name:                                                                  Describe Property Securing Debt:
 PennyMac Loan Services                                                            2740 Summermill, Idaho
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.

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                                                 Case 18-63610-pcm7             Doc 15    Filed 12/11/18
 Property No. 11
 Creditor's Name:                                                                           Describe Property Securing Debt:
 Robert T. Kirkpatrick                                                                      Personal guarantee of corporate debt obligation secured
                                                                                            to 5 acres on W Summer Mill Lane Coeur D Alene, ID
                                                                                            83814 Kootenai County
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 12
 Creditor's Name:                                                                           Describe Property Securing Debt:
 US Bank Equipment Finance                                                                  2008 Premiere Pontoon Boat
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 13
 Creditor's Name:                                                                           Describe Property Securing Debt:
 US Bank Home Mortgage                                                                      2531 W. Baywoods Rd. Coeur D Alene, ID 83814
                                                                                            Kootenai County
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) Retain and Pay Pursuant to Contract

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach additional
pages if necessary.)

   IF NONE - Check this box.
 Property No. 1
 Lessor's Name:                                                      Describe Leased Property:                     Lease will be assumed pursuant to 11 USC
                                                                                                                   §365(p)(2)
                                                                                                                                 YES         NO
            Continuation sheets attached (if any).




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                                                 Case 18-63610-pcm7                    Doc 15      Filed 12/11/18
 I DECLARE UNDER PENALTY OF PERJURY THAT THE ABOVE                      I/WE, THE UNDERSIGNED, CERTIFY THAT COPIES OF BOTH THIS
 INDICATES INTENTION AS TO ANY PROPERTY OF MY ESTATE                    DOCUMENT AND LOCAL FORM #715 WERE SERVED ON ANY
 SECURING A DEBT AND/OR PERSONAL PROPERTY SUBJECT TO                    CREDITOR NAMED ABOVE.
 AN UNEXPIRED LEASE.
 DATE: December 7, 2018                                                 DATE: December 7, 2018

 /s/ Scott Edward Hicks                                                 /s/ Michael D. O'Brien                                 951056 OR
 DEBTOR'S SIGNATURE                                                     DEBTOR OR ATTORNEY'S SIGNATURE                  OSB# (if attorney)


 JOINT DEBTOR'S SIGNATURE (If applicable)                               JOINT DEBTOR'S SIGNATURE (If applicable and no attorney)
                                                                        Michael D. O'Brien      503-786-3800
                                                                        PRINT OR TYPE SIGNER'S NAME & PHONE NO.
                                                                        12909 SW 68th Parkway, Suite 160
                                                                        Portland, OR 97223
                                                                        SIGNER'S ADDRESS (if attorney)


    NON-JUDICIAL REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTIONS
Creditors, see Local Form #715 [attached if this document was served on paper] if you wish information on how to obtain non-judicial
relief from the automatic stay of 11 U.S.C. §362(a) as to your collateral.
                                                        QUESTIONS????
Call an attorney with questions about these procedures or the law. However, only call the debtor's attorney if you have
questions about the debtor's intent as to your collateral.




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                                                 Case 18-63610-pcm7   Doc 15     Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                   Scott Edward Hicks
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF OREGON

 Case number           18-63610-pcm7
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,701,014.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              96,433.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,797,447.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          3,653,514.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                3,279.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         13,071,009.00


                                                                                                                                     Your total liabilities $           16,727,802.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,095.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                8,535.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                                                     Case 18-63610-pcm7                              Doc 15             Filed 12/11/18
 Debtor 1      Scott Edward Hicks                                                         Case number (if known) 18-63610-pcm7

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              3,279.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 3,279.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                                                 Case 18-63610-pcm7               Doc 15        Filed 12/11/18
 Fill in this information to identify your case and this filing:

 Debtor 1                    Scott Edward Hicks
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF OREGON

 Case number            18-63610-pcm7                                                                                                                            Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        5790 Merrill Lane                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Salem                             OR        97304-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $902,028.00                $451,014.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Tenancy by the entireties
        Polk                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Value per average of Zillow and Redfin




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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                                                        Case 18-63610-pcm7                             Doc 15           Filed 12/11/18
 Debtor 1        Scott Edward Hicks                                                                                     Case number (if known)          18-63610-pcm7

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       2740 W Summer Mill Lane                                                Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Coeur D Alene                     ID        83814-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $750,000.00                   $750,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only
       Kootenai                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       home sits on five acres


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       2531 W. Baywoods Rd.                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Coeur D Alene                     ID        83814-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $500,000.00                   $500,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Kootenai                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                   $1,701,014.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 2
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                                                       Case 18-63610-pcm7                     Doc 15           Filed 12/11/18
 Debtor 1        Scott Edward Hicks                                                                                Case number (if known)    18-63610-pcm7
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Mazda                                     Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
         Model:      CX5                                             Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:                   15000                Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                         $19,000.00                  $19,000.00
                                                                     (see instructions)



  3.2    Make:       Mazda                                     Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
         Model:      CX5                                             Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:       2018                                            Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:                   12000                Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                         $22,000.00                  $22,000.00
                                                                     (see instructions)



  3.3    Make:       Harley Davidson                           Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
         Model:      Ultra classic                                   Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:                    4500                Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                         $12,500.00                  $12,500.00
                                                                     (see instructions)



  3.4    Make:       Harley Davidson                           Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
         Model:      Dyna wideglide                                  Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:       1998                                            Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:                   20000                Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                           $2,500.00                   $2,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Honda                                     Who has an interest in the property? Check one
                                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
         Model:      Jetski                                          Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                        Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                         $1,500.00                       $750.00
          w/ Trailer                                                 (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                     page 3
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                                                 Case 18-63610-pcm7                          Doc 15            Filed 12/11/18
 Debtor 1        Scott Edward Hicks                                                                                 Case number (if known)       18-63610-pcm7
  4.2    Make:       Premiere                                  Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Pontoon Boat                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only                                            Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                             $24,000.00                  $12,000.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $68,750.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Misc Household Goods and Furnishings with no one item worth
                                    more than $500                                                                                                                  $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Misc Electronics                                                                                                                  $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Misc. sporting goods and tools                                                                                                  $2,000.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Glock 9mm handgun                                                                                                                 $500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 4
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                                                 Case 18-63610-pcm7                          Doc 15            Filed 12/11/18
 Debtor 1         Scott Edward Hicks                                                                                              Case number (if known)   18-63610-pcm7


                                            Misc Clothing                                                                                                                 $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                $5,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                     Misc Cash on
                                                                                                                                     Hand                                   $150.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                US Bank #5753                                                           $2,000.00



                                              17.2.       Savings                                 US Bank #6132                                                               $33.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:

                                                  100% owner of KMH, Inc., an active, insolvent
                                                  Idaho corporation presenty in receivership                                            100          %                          $0.00


Official Form 106A/B                                                                       Schedule A/B: Property                                                               page 5
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                                                            Case 18-63610-pcm7                                       Doc 15   Filed 12/11/18
 Debtor 1         Scott Edward Hicks                                                                          Case number (if known)      18-63610-pcm7


                                            50% owner of Plumli LLC (appears on 2016 tax
                                            return)                                                                  50         %                              $0.00


                                            100% owner of Charlie Properties, LLC, an
                                            active, insolvent Idaho limited liability company
                                            that owns 5 acres of bare land                                           100        %                              $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
Official Form 106A/B                                                   Schedule A/B: Property                                                                  page 6
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                                                   Case 18-63610-pcm7                   Doc 15          Filed 12/11/18
 Debtor 1        Scott Edward Hicks                                                                                              Case number (if known)        18-63610-pcm7

        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Cincinnatti Life Term Life Insurance
                                             Policy with a face value of $1 million                                   Spouse                                                        $0.00


                                             State Farm Term Life Insurance Policy
                                             with a face value of $500,000                                            Spouse                                                        $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $2,183.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.

           Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured

Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 7
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                                                     Case 18-63610-pcm7                               Doc 15             Filed 12/11/18
 Debtor 1         Scott Edward Hicks                                                                                                    Case number (if known)   18-63610-pcm7
                                                                                                                                                                     claims or exemptions.

47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
        No
        Yes................


48. Crops—either growing or harvested
        No
        Yes. Give specific information.....


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
        Yes................


                                        John Deere Model 3825 Tractor                                                                                                           $20,000.00


50. Farm and fishing supplies, chemicals, and feed
        No
        Yes................

51. Any farm- and commercial fishing-related property you did not already list
        No
        Yes. Give specific information.....



 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .....................................................................................................................                $20,000.00


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,701,014.00
 56. Part 2: Total vehicles, line 5                                                                           $68,750.00
 57. Part 3: Total personal and household items, line 15                                                       $5,500.00
 58. Part 4: Total financial assets, line 36                                                                   $2,183.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                $20,000.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $96,433.00              Copy personal property total              $96,433.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $1,797,447.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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                                                        Case 18-63610-pcm7                                Doc 15               Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                 Scott Edward Hicks
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           18-63610-pcm7
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      5790 Merrill Lane Salem, OR 97304                              $451,014.00                               $23,675.00      11 U.S.C. § 522(d)(1)
      Polk County
      Value per average of Zillow and                                                      100% of fair market value, up to
      Redfin                                                                               any applicable statutory limit
      Line from Schedule A/B: 1.1

      2017 Mazda CX5 15000 miles                                      $19,000.00                                 $2,950.00     11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc Household Goods and                                         $1,500.00                                 $1,500.00     11 U.S.C. § 522(d)(3)
      Furnishings with no one item worth
      more than $500                                                                       100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit

      Misc Electronics                                                    $500.00                                  $500.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc. sporting goods and tools                                   $2,000.00                                 $2,000.00     11 U.S.C. § 522(d)(6)
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                                                 Case 18-63610-pcm7                     Doc 15         Filed 12/11/18
 Debtor 1    Scott Edward Hicks                                                                          Case number (if known)     18-63610-pcm7
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Glock 9mm handgun                                                   $500.00                                   $500.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc Clothing                                                    $1,000.00                                  $1,000.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Misc Cash on Hand                                                   $150.00                                   $150.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: US Bank #5753                                          $2,000.00                                    $600.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                 Case 18-63610-pcm7                     Doc 15         Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                   Scott Edward Hicks
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           18-63610-pcm7
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Bank                                Describe the property that secures the claim:                 $22,856.00               $22,000.00               $856.00
         Creditor's Name                          2018 Mazda CX5 12000 miles

         Bankruptcy Notice Dept.
                                                  As of the date you file, the claim is: Check all that
         PO Box 130424                            apply.
         Roseville, MN 55113-0004                     Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          1/2018                    Last 4 digits of account number


         Citadel Servicing
 2.2                                                                                                          $691,531.00               $902,028.00                     $0.00
         Corporation                              Describe the property that secures the claim:
         Creditor's Name                          5790 Merrill Lane Salem, OR 97304
                                                  Yamhill County. Arrears est. at
                                                  $23,150
         15707 Rockfield Blvd.,                   Value per Zillow and Redfin
                                                  As of the date you file, the claim is: Check all that
         Suite 320                                apply.
         Irvine, CA 92618                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 6
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                                                  Case 18-63610-pcm7                        Doc 15          Filed 12/11/18
 Debtor 1 Scott Edward Hicks                                                                                  Case number (if known)   18-63610-pcm7
               First Name                  Middle Name                      Last Name


 Date debt was incurred          2/2017                      Last 4 digits of account number         6165

 2.3     Fifth Third Bank                           Describe the property that secures the claim:                    $16,050.00          $19,000.00              $0.00
         Creditor's Name                            2017 Mazda CX5 15000 miles

                                                    As of the date you file, the claim is: Check all that
         5001 Kingsley Drive                        apply.
         Cincinnati, OH 45227                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          8/2017                      Last 4 digits of account number


                                                                                                                                                       $1,046,873.0
 2.4     Freeclarke, LLC                                                                                          $1,046,873.00               $0.00
                                                    Describe the property that secures the claim:                                                                 0
         Creditor's Name                            2nd Mortgage on 2740 Summermill
                                                    Lane, Idaho
         c/o James Freeburg
                                                    As of the date you file, the claim is: Check all that
         9802 Santa Monica Dr.                      apply.
         Palm City, FL 34990                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          7/2014                      Last 4 digits of account number


 2.5     Harley-Davidson Credit                     Describe the property that secures the claim:                    $13,000.00          $12,500.00          $500.00
         Creditor's Name                            2014 Harley Davidson Ultra classic
         Bankruptcy Notices                         4500 miles
         PO Box 22048
                                                    As of the date you file, the claim is: Check all that
         Carson City, NV                            apply.
         89721-2048                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          8/2014                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 6
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                                                  Case 18-63610-pcm7                           Doc 15            Filed 12/11/18
 Debtor 1 Scott Edward Hicks                                                                                  Case number (if known)   18-63610-pcm7
               First Name                  Middle Name                      Last Name


 2.6     Internal Revenue Service                   Describe the property that secures the claim:                   $162,839.00         $902,028.00              $0.00
         Creditor's Name                            5790 Merrill Lane Salem, OR 97304
                                                    Polk County
         Bankruptcy Notices                         Value per average of Zillow and
         PO Box 7346                                Redfin
                                                    As of the date you file, the claim is: Check all that
         Philadelphia, PA                           apply.
         19101-7346                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Federal Tax LIen
       community debt

 Date debt was incurred          10/23/18                    Last 4 digits of account number


         John Deere Credit
 2.7                                                                                                                 $23,000.00          $20,000.00        $3,000.00
         Services                                   Describe the property that secures the claim:
         Creditor's Name                            John Deere Model 3825 Tractor

         Bankruptcy Department
                                                    As of the date you file, the claim is: Check all that
         PO Box 130424                              apply.
         Roseville, MN 55113                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.8     McCarthy Capital Inc.                      Describe the property that secures the claim:                   $850,000.00               $0.00     $850,000.00
         Creditor's Name                            Secured by $500,000 2nd Mortgage
                                                    lien on real property located at 5790
                                                    Merrill Lane, Salem, OR (disputed)
                                                    and secured by Baymont Hotel
                                                    owned by KMH Inc. and 2nd
                                                    mortgage on 2531 W. Baywoods Rd.
                                                    and 2nd on five acres on W.
                                                    Summerhill Rd.
                                                    As of the date you file, the claim is: Check all that
         PO Box 3477                                apply.
         Coeur D Alene, ID 83816                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 6
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 Debtor 1 Scott Edward Hicks                                                                                  Case number (if known)   18-63610-pcm7
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Precautionary personal guarantee of business debt of
       community debt                                                                          KMH, Inc.

 Date debt was incurred          3/22/17                     Last 4 digits of account number


         Nationstar Mortgage,
 2.9                                                                                                                $201,994.00         $500,000.00              $0.00
         LLC                                        Describe the property that secures the claim:
         Creditor's Name                            2531 W. Baywoods Rd. Coeur D
                                                    Alene, ID 83814 Kootenai County
         Bankruptcy Notices
                                                    As of the date you file, the claim is: Check all that
         PO Box 619096                              apply.
         Dallas, TX 75261-9741                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2014                        Last 4 digits of account number


 2.1
 0       PennyMac Loan Services                     Describe the property that secures the claim:                   $303,110.00               $0.00     $303,110.00
         Creditor's Name                            2740 Summermill, Idaho

         PO Box 514387
                                                    As of the date you file, the claim is: Check all that
         Los Angeles, CA                            apply.
         90051-4387                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number


 2.1
 1       Robert T. Kirkpatrick                      Describe the property that secures the claim:                   $157,492.00         $350,000.00              $0.00
         Creditor's Name                            Personal guarantee of corporate
                                                    debt obligation secured to 5 acres
                                                    on W Summer Mill Lane Coeur D
         c/o Pioneer Title Co.                      Alene, ID 83814 Kootenai County
                                                    As of the date you file, the claim is: Check all that
         8151 W. Rifleman St                        apply.
         Boise, ID 83704                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 6
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 Debtor 1 Scott Edward Hicks                                                                                  Case number (if known)        18-63610-pcm7
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1     US Bank Equipment
 2       Finance                                    Describe the property that secures the claim:                    $24,558.00                 $24,000.00              $558.00
         Creditor's Name                            2008 Premiere Pontoon Boat

         Bankruptcy Notice
                                                    As of the date you file, the claim is: Check all that
         1310 Madrid St., Ste. 101                  apply.
         Marshall, MN 56258                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2008                        Last 4 digits of account number


 2.1
 3       US Bank Home Mortgage                      Describe the property that secures the claim:                   $140,211.00                $500,000.00                  $0.00
         Creditor's Name                            2531 W. Baywoods Rd. Coeur D
                                                    Alene, ID 83814 Kootenai County
         Bankruptcy Dept.
                                                    As of the date you file, the claim is: Check all that
         4801 Frederica St.                         apply.
         Owensboro, KY 42301                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2007                        Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $3,653,514.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $3,653,514.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.5
          Lukins & Annis
          601 E. Front ave., Suite 303                                                                Last 4 digits of account number
          Coeur D Alene, ID 83814-5155



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 5 of 6
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 Debtor 1 Scott Edward Hicks                                                              Case number (if known)          18-63610-pcm7
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.9
        Mr. Cooper
        8950 Cypress Waters Blvd.                                                   Last 4 digits of account number
        Coppell, TX 75019




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 6
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                                                 Case 18-63610-pcm7              Doc 15       Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                     Scott Edward Hicks
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF OREGON

 Case number           18-63610-pcm7
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Idaho State Tax Commission                             Last 4 digits of account number                          $3,279.00         $3,279.00                   $0.00
              Priority Creditor's Name
              PO Box 36                                              When was the debt incurred?           9/25/18
              Boise, ID 83756-0056
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Idaho Travel & Convention Tax




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 17
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 Debtor 1 Scott Edward Hicks                                                                               Case number (if known)            18-63610-pcm7

 2.2        Minnesota Dept. of Revenue                               Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            PO Box 64564                                             When was the debt incurred?
            Saint Paul, MN 55164
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Precautionary - unemployment insurance tax
                                                                                         owed by Bingo LLC

 2.3        Oregon Department Of Revenue                             Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Bankruptcy Notice Dept.                                  When was the debt incurred?
            955 Center Street, NE
            Salem, OR 97301-2555
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          Precautionary

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 17
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 Debtor 1 Scott Edward Hicks                                                                             Case number (if known)         18-63610-pcm7

 4.1      ADT Security Service, Inc.                                 Last 4 digits of account number       8377                                               $170.00
          Nonpriority Creditor's Name
          Bankruptcy Dept.                                           When was the debt incurred?           2018
          452 Sable Blvd., Unit G
          Aurora, CO 80011
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Debtor not aware of
              Yes                                                       Other. Specify   personal guarantee


 4.2      American Express                                           Last 4 digits of account number                                                        $6,851.00
          Nonpriority Creditor's Name
          Bankruptcy Notice Department                               When was the debt incurred?
          PO Box 981540
          El Paso, TX 79998-1540
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Mixed Business and Consumer Use


 4.3      Balboa Capital Corporation                                 Last 4 digits of account number       9001                                           $54,000.00
          Nonpriority Creditor's Name
          575 Anton Blvd., 12th Floor                                When was the debt incurred?           10/29/14
          Costa Mesa, CA 92626
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of corporation
                                                                                         obligation owed by Bingo LLC; Judgment
              Yes                                                       Other. Specify   entered




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 17
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 Debtor 1 Scott Edward Hicks                                                                             Case number (if known)         18-63610-pcm7

 4.4      Bank of America                                            Last 4 digits of account number       1750                                           $53,753.00
          Nonpriority Creditor's Name
          PO Box 982234                                              When was the debt incurred?           2000 to Present
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt


 4.5      Barbara J. Myhre                                           Last 4 digits of account number                                                     $400,000.00
          Nonpriority Creditor's Name
          606 Soucy Drive                                            When was the debt incurred?           2/2012
          Marshall, MN 56258
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Loan for business operations


 4.6      Barclay Card - Wyndham                                     Last 4 digits of account number                                                      $22,893.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           2014 to Present
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 17
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 Debtor 1 Scott Edward Hicks                                                                             Case number (if known)         18-63610-pcm7

 4.7      Black Rock Homeowners Assoc.                               Last 4 digits of account number                                                        $1,870.00
          Nonpriority Creditor's Name
          c/o Association Services Inc.                              When was the debt incurred?
          1110 Park Place, Suite 101
          Coeur D Alene, ID 83814
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         16988 Basalt Drive, Coeur D Alene, ID
                                                                                         83814 Kootenai County. Property was
              Yes                                                       Other. Specify   foreclosed, no security remains


 4.8      Business Backer                                            Last 4 digits of account number       0299                                           $98,755.00
          Nonpriority Creditor's Name
          Bankruptcy Notice                                          When was the debt incurred?           n/a
          10 South 5th St., Ste. 400
          Minneapolis, MN 55402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Personally
              Yes                                                       Other. Specify   Guaranteed by Debtor


 4.9      Business Backer                                            Last 4 digits of account number                                                      $86,675.00
          Nonpriority Creditor's Name
          One South Main St., Suite 1590                             When was the debt incurred?
          10 South 5th St., Ste. 400
          Dayton, OH 45402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Personally
              Yes                                                       Other. Specify   Guaranteed by Debtor




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 17
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 Debtor 1 Scott Edward Hicks                                                                             Case number (if known)         18-63610-pcm7

 4.1
 0        CAN Capital, Inc.                                          Last 4 digits of account number       6650                                          $172,102.00
          Nonpriority Creditor's Name
          2015 Vaughn Rd., Bldg 500                                  When was the debt incurred?           n/a
          Kennesaw, GA 30144
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Personally
              Yes                                                       Other. Specify   Guaranteed by Debtor


 4.1
 1        CAN Capital, Inc.                                          Last 4 digits of account number                                                      $76,934.00
          Nonpriority Creditor's Name
          15387 Plumstone Drive                                      When was the debt incurred?
          Eden Prairie, MN 55347
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of business obligation
              Yes                                                       Other. Specify   of Bingo LLC


 4.1
 2        Chase Card Services                                        Last 4 digits of account number                                                      $24,883.00
          Nonpriority Creditor's Name
          Bankruptcy Notices                                         When was the debt incurred?           2004 to Present
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt




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 Debtor 1 Scott Edward Hicks                                                                             Case number (if known)         18-63610-pcm7

 4.1
 3        Chase MileagePlus United                                   Last 4 digits of account number       6427                                           $26,643.00
          Nonpriority Creditor's Name
          PO Box 15123                                               When was the debt incurred?           2002 to Present
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt


 4.1
 4        Chase MileagePlus United                                   Last 4 digits of account number       0943                                           $13,905.00
          Nonpriority Creditor's Name
          PO Box 15123                                               When was the debt incurred?           2009 to Present
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt


 4.1
 5        Chase Slate Visa                                           Last 4 digits of account number       1839                                           $32,612.00
          Nonpriority Creditor's Name
          PO Box 15298                                               When was the debt incurred?           1993 to Present
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt




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 4.1
 6        Chase Visa Southwest                                       Last 4 digits of account number                                                      $17,301.00
          Nonpriority Creditor's Name
          201 N. Walnut St., DE1-1027                                When was the debt incurred?           2008 to Present
          Wilmington, DE 19801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt


 4.1
 7        Citibank NA                                                Last 4 digits of account number       7909                                          $362,550.00
          Nonpriority Creditor's Name
          PO Box 790110                                              When was the debt incurred?           2008
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         2nd Mortgage on Property located at 16988
                                                                                         Basalt in Coeur d'Alene, ID. Property was
              Yes                                                       Other. Specify   foreclosed, no security remains


 4.1
 8        Contract Callers Inc.                                      Last 4 digits of account number       1123                                                   $0.00
          Nonpriority Creditor's Name
          501 Greene St.                                             When was the debt incurred?
          3rd Floor, Suite 302
          Augusta, GA 30901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Precautionary - collecting for Amerigas




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 4.1
 9        David R. Howell CPA                                        Last 4 digits of account number                                                      $27,000.00
          Nonpriority Creditor's Name
          1127 25th St. SE                                           When was the debt incurred?
          Salem, OR 97301
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accounting Services


 4.2
 0        Direct Capital                                             Last 4 digits of account number       n/a                                            $56,268.00
          Nonpriority Creditor's Name
          Bankruptcy Notice                                          When was the debt incurred?           n/a
          155 Commerce Way
          Portsmouth, NH 03801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Personally
              Yes                                                       Other. Specify   Guaranteed by Debtor


 4.2
 1        Elavon, Inc.                                               Last 4 digits of account number       0947                                               $565.00
          Nonpriority Creditor's Name
          Bankruptcy Notice                                          When was the debt incurred?           n/a
          Two Concourse Parkway, Suite 800
          Atlanta, GA 30328
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Debtor not aware of
              Yes                                                       Other. Specify   personal guarantee




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 4.2
 2        First Data Global Leasing                                  Last 4 digits of account number       8000                                               $645.00
          Nonpriority Creditor's Name
          PO Box 173845                                              When was the debt incurred?           n/a
          Denver, CO 80217
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Debtor not aware of
              Yes                                                       Other. Specify   personal guarantee


 4.2
 3        Gibralter Capital                                          Last 4 digits of account number       9449                                          $187,810.00
          Nonpriority Creditor's Name
          Bankruptcy Notice                                          When was the debt incurred?           n/a
          One Wall Street
          New York, NY 10005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Personally
              Yes                                                       Other. Specify   Guaranteed by Debtor


 4.2
 4        Gilford Lewis                                              Last 4 digits of account number                                                     $107,000.00
          Nonpriority Creditor's Name
          4742 Liberty Rd. S                                         When was the debt incurred?
          Salem, OR 97302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal loan for business operations




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 4.2
 5        Hunter Warfield                                            Last 4 digits of account number                                                          $645.00
          Nonpriority Creditor's Name
          Bankruptcy Notices                                         When was the debt incurred?
          PO Box 1280
          Oaks, PA 19456
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Breach of contract for business equipment
              Yes                                                       Other. Specify   lease


 4.2
 6        Ketel Thorstenson LLP                                      Last 4 digits of account number                                                      $16,025.00
          Nonpriority Creditor's Name
          PO Box 3140                                                When was the debt incurred?           Various
          Rapid City, SD 57709
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accounting Services provided to business


 4.2
 7        Knight Capital Funding                                     Last 4 digits of account number       1272                                           $93,409.00
          Nonpriority Creditor's Name
          Bankruptcy Notices                                         When was the debt incurred?           n/a
          1691 Michigan Ave., Ste. 230
          Miami Beach, FL 33139
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Personally
              Yes                                                       Other. Specify   Guaranteed by Debtor




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 4.2
 8        Larry Jacobs                                               Last 4 digits of account number                                                     $110,000.00
          Nonpriority Creditor's Name
          105 North A St.                                            When was the debt incurred?
          Marshall, MN 56258
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Loan for business operations


 4.2
 9        LG Funding LLC                                             Last 4 digits of account number       n/a                                            $51,802.00
          Nonpriority Creditor's Name
          1218 Union Street, Ste. 2                                  When was the debt incurred?           n/a
          Brooklyn, NY 11225
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Misc. Business Debt; Judgment entered


 4.3
 0        ON DECK Capital                                            Last 4 digits of account number       9701                                          $132,589.00
          Nonpriority Creditor's Name
          1400 Broadway                                              When was the debt incurred?           3/2018
          25th Fl
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Debtor not aware of
              Yes                                                       Other. Specify   personal guarantee




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 4.3
 1        Pearl Capital Rivis Ventures, LLC                          Last 4 digits of account number       2018                                             $31,292.00
          Nonpriority Creditor's Name
          c/o Atty Jeffrey Zachter                                   When was the debt incurred?           3/2018
          30 Wall St., 8th Floor
          New York, NY 10005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of corporate
              Yes                                                       Other. Specify   obligation, Judgment entered


 4.3
 2        RSS COMM2014 UBS5-MN KIB, LLC                              Last 4 digits of account number                                                    $10,450,000.00
          Nonpriority Creditor's Name
          c/o Perkins Coie LLP                                       When was the debt incurred?
          1120 NW Couch St., 10th Floor
          Portland, OR 97209
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of corporate
              Yes                                                       Other. Specify   obligation, Judgment entered


 4.3
 3        Spectrum                                                   Last 4 digits of account number       3593                                                 $172.00
          Nonpriority Creditor's Name
          c/o Charter Communications                                 When was the debt incurred?           n/a
          400 Atlantic Street
          Stamford, CT 06901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Debtor not aware of
              Yes                                                       Other. Specify   personal guarantee




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 4.3
 4        TD Auto Finance, LLC                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Bankruptcy Notices                                         When was the debt incurred?           2016
          PO Box 551080
          Jacksonville, FL 32255
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Precautionary - deficiency after voluntary
              Yes                                                       Other. Specify   surrender of 2016 Cadillac Escalade


 4.3
 5        The Business Backer LLC                                    Last 4 digits of account number                                                      $87,300.00
          Nonpriority Creditor's Name
          One SOuth Main St., Suite 1590                             When was the debt incurred?
          Dayton, OH 45402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of corporate obligation
              Yes                                                       Other. Specify   of Martina's Group LLC


 4.3
 6        The Business Backer LLC                                    Last 4 digits of account number                                                      $99,000.00
          Nonpriority Creditor's Name
          c/o Halpern Law Firm, PLLC                                 When was the debt incurred?
          10 S. 5th St., Suite 400
          Minneapolis, MN 55402
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal guarantee of corporate obligation




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 4.3
 7         Variety Foods LLC                                         Last 4 digits of account number       0778                                                     $2,345.00
           Nonpriority Creditor's Name
           4200 East Producer Lane                                   When was the debt incurred?           7/2018
           Sioux Falls, SD 57104-0257
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Misc. Business Debt, Debtor not aware of
              Yes                                                       Other. Specify   personal guarantee


 4.3
 8         World Global Financing Inc.                               Last 4 digits of account number       1546                                                  $165,245.00
           Nonpriority Creditor's Name
           Bankruptcy Notice                                         When was the debt incurred?           n/a
           c/o Atty Michael J. Archibald
           1855 N. Lakes Place
           Meridian, ID 83680
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal guarantee of corporate obligation
              Yes                                                       Other. Specify   , Judgment entered

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney Jeffrey E. Rolig                                     Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 195 River Vista Place, Ste. 306                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 5455
 Twin Falls, ID 83303-5455
                                                               Last 4 digits of account number                   7139

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney Michelle A. Chongson                                 Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 575 Anton Blvd., 12th Floor                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Costa Mesa, CA 92626
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Business Backer                                               Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Notice                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 10856 Reed Hartman Highway, Suite
 100

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 15 of 17
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                                                 Case 18-63610-pcm7                         Doc 15           Filed 12/11/18
 Debtor 1 Scott Edward Hicks                                                                             Case number (if known)          18-63610-pcm7

 Blue Ash, OH 45242
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CASH, LLC                                                     Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Resurgent Capital Services, LP                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 10497
 Greenville, SC 29603
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ellen F. Rosenblum, Attorney                                  Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 General                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 100 Justice Building
 1162 Court St. NE
 Salem, OR 97310
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 First Data Global Leasing                                     Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Notice                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 5565 Glenridge Connector NE, Suite
 2000
 Atlanta, GA 30342
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GC Services, LP                                               Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 6330 Gulfton                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77081
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gene W. Rosen, Esq.                                           Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 147-10 77th Ave.                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Kew Gardens Hills, NY 11367
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IC System Inc.                                                Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 444 Highway 96 East                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 64378
 Saint Paul, MN 55164-0378
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kevin Holt                                                    Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Holt Law Office                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 618 N. 4th Street, Suite 2
 Coeur D Alene, ID 83814
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Machol & Johannes, LLC                                        Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Notices                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 1412 W. Idaho St., Ste. 238
 Boise, ID 83702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northstar Location Services, LLC                              Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Financial Services                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 4285 Genesee Street
 Cheektowaga, NY 14225-1943
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northstar Location Services, LLC                              Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Financial Services                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 4285 Genesee Street
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 16 of 17
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                                                 Case 18-63610-pcm7                         Doc 15           Filed 12/11/18
 Debtor 1 Scott Edward Hicks                                                                             Case number (if known)          18-63610-pcm7

 Cheektowaga, NY 14225-1943
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Spectrum                                                      Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Recovery Support Team                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 1900 Blue Crest Ln.
 San Antonio, TX 78246
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Suttell & Hammer PS                                           Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box C-90006                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Bellevue, WA 98009
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     3,279.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     3,279.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $              13,071,009.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $              13,071,009.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 17 of 17
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                                                 Case 18-63610-pcm7                         Doc 15           Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                  Scott Edward Hicks
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF OREGON

 Case number           18-63610-pcm7
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                  Case 18-63610-pcm7                   Doc 15       Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                   Scott Edward Hicks
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF OREGON

 Case number           18-63610-pcm7
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Bingo LLC                                                                             Schedule D, line
                                                                                                      Schedule E/F, line 4.34
                                                                                                      Schedule G
                                                                                                    TD Auto Finance, LLC



    3.2         Bingo LLC                                                                             Schedule D, line
                5790 Merrill Lane                                                                     Schedule E/F, line  4.3
                Salem, OR 97304
                                                                                                      Schedule G
                                                                                                    Balboa Capital Corporation



    3.3         Bingo LLC                                                                             Schedule D, line
                5790 Merrill Lane                                                                     Schedule E/F, line    4.23
                Salem, OR 97304
                                                                                                      Schedule G
                                                                                                    Gibralter Capital




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 3
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                                                    Case 18-63610-pcm7             Doc 15        Filed 12/11/18
 Debtor 1 Scott Edward Hicks                                                        Case number (if known)   18-63610-pcm7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      Bingo LLC                                                                     Schedule D, line
             5790 Merrill Lane                                                             Schedule E/F, line      4.11
             Salem, OR 97304
                                                                                           Schedule G
                                                                                         CAN Capital, Inc.



    3.5      Bingo LLC                                                                     Schedule D, line
             5790 Merrill Lane                                                             Schedule E/F, line      4.9
             Salem, OR 97304
                                                                                           Schedule G
                                                                                         Business Backer



    3.6      Bingo LLC                                                                     Schedule D, line
             5790 Merrill Lane                                                             Schedule E/F, line    4.31
             Salem, OR 97304
                                                                                           Schedule G
                                                                                         Pearl Capital Rivis Ventures, LLC



    3.7      Bingo LLC                                                                      Schedule D, line
             5790 Merrill Lane                                                              Schedule E/F, line     4.21
             Salem, OR 97304
                                                                                            Schedule G
                                                                                         Elavon, Inc.



    3.8      Bingo LLC                                                                     Schedule D, line
             5790 Merrill Lane                                                             Schedule E/F, line   4.1
             Salem, OR 97304
                                                                                           Schedule G
                                                                                         ADT Security Service, Inc.



    3.9      Bingo LLC                                                                     Schedule D, line
             5790 Merrill Lane                                                             Schedule E/F, line      4.8
             Salem, OR 97304
                                                                                           Schedule G
                                                                                         Business Backer



    3.10     Bingo LLC                                                                     Schedule D, line
             5790 Merrill Lane                                                             Schedule E/F, line      4.10
             Salem, OR 97304
                                                                                           Schedule G
                                                                                         CAN Capital, Inc.



    3.11     Bingo LLC                                                                     Schedule D, line
             5790 Merrill Lane                                                             Schedule E/F, line      4.25
             Salem, OR 97304
                                                                                           Schedule G
                                                                                         Hunter Warfield




Official Form 106H                                                   Schedule H: Your Codebtors                                  Page 2 of 3
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                                                 Case 18-63610-pcm7      Doc 15     Filed 12/11/18
 Debtor 1 Scott Edward Hicks                                                        Case number (if known)   18-63610-pcm7


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.12     Chopper LLC                                                                   Schedule D, line
                                                                                           Schedule E/F, line 4.14
                                                                                           Schedule G
                                                                                         Chase MileagePlus United



    3.13     KMH Inc.                                                                      Schedule D, line
                                                                                           Schedule E/F, line 4.32
                                                                                           Schedule G
                                                                                         RSS COMM2014 UBS5-MN KIB, LLC



    3.14     Tanya Hicks                                                                   Schedule D, line
                                                                                           Schedule E/F, line      4.15
                                                                                           Schedule G
                                                                                         Chase Slate Visa



    3.15     Tanya Hicks                                                                    Schedule D, line
                                                                                            Schedule E/F, line     4.17
                                                                                            Schedule G
                                                                                         Citibank NA




Official Form 106H                                                   Schedule H: Your Codebtors                                  Page 3 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy



                                                 Case 18-63610-pcm7      Doc 15     Filed 12/11/18
Fill in this information to identify your case:

Debtor 1                      Scott Edward Hicks

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF OREGON

Case number               18-63610-pcm7                                                                  Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            Self Employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1

                                            Case 18-63610-pcm7                Doc 15        Filed 12/11/18
Debtor 1    Scott Edward Hicks                                                                    Case number (if known)    18-63610-pcm7


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $               N/A
      5e.   Insurance                                                                      5e.        $              0.00     $               N/A
      5f.   Domestic support obligations                                                   5f.        $              0.00     $               N/A
      5g.   Union dues                                                                     5g.        $              0.00     $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      3,095.00         $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00         $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
      8e. Social Security                                                                  8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,095.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,095.00 + $             N/A = $          3,095.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         3,095.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2

                                       Case 18-63610-pcm7                   Doc 15         Filed 12/11/18
Fill in this information to identify your case:

Debtor 1                 Scott Edward Hicks                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF OREGON                                                         MM / DD / YYYY

Case number           18-63610-pcm7
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Spouse                                                    Yes
                                                                                                                                             No
                                                                                   Daughter                             16                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             5,590.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1


                                           Case 18-63610-pcm7                      Doc 15        Filed 12/11/18
Debtor 1     Scott Edward Hicks                                                                        Case number (if known)      18-63610-pcm7

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                   0.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                160.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                150.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                               1,135.00
      15c. Vehicle insurance                                                               15c. $                                                   0.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,535.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,535.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,095.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,535.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -5,440.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


                                          Case 18-63610-pcm7                       Doc 15          Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                    Scott Edward Hicks
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number              18-63610-pcm7
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Scott Edward Hicks                                                    X
              Scott Edward Hicks                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       December 7, 2018                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                                 Case 18-63610-pcm7                 Doc 15       Filed 12/11/18
 Fill in this information to identify your case:

 Debtor 1                  Scott Edward Hicks
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           18-63610-pcm7
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        1612 Bartlett Hill                                       From-To:                       Same as Debtor 1                                    Same as Debtor 1
        Salem, OR 97304                                          2009 to May 2016                                                                From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                               $0.00         Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Scott Edward Hicks                                                                          Case number (if known)   18-63610-pcm7


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                             Wages, commissions,                               $0.00         Wages, commissions,
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                       $352,816.00           Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 1      Scott Edward Hicks                                                                          Case number (if known)   18-63610-pcm7


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Balboa Capital v. Bingo LLC and                           Breach of                  Superior Court , Orange                    Pending
       Hicks, et al.                                             Contract and               County, CA                                 On appeal
       30-2018-00976468                                          Action on                  700 Civic Center Drive West
                                                                                                                                       Concluded
                                                                 Guarantee                  Santa Ana, CA 92701

       RSS COMM 2014 UBS-5-MN KIB,                               Breach of                  United States District Court               Pending
       LLC v. Hicks                                              Contract                   - SDNY                                     On appeal
       1:18-cv-04013-rjs
                                                                                                                                       Concluded


       The Business Backer LLC. v. Hicks                         Collections                Kootenai County District                   Pending
       et al                                                                                Court                                      On appeal
       CV28-18-5366
                                                                                                                                       Concluded


       Pearl Capital Rivis Ventures LLC v.                       Breach of                  King County Supreme                        Pending
       Bingo LLC and Hicks                                       Contract and               Court, New York                            On appeal
       50623/2018                                                Action on
                                                                                                                                       Concluded
                                                                 Guarantee

       World Global Financing Inc. v.                            Breach of                  District Court, Kootenai                   Pending
       Hicks                                                     Contract                   County, Idaho                              On appeal
       CV18-1546
                                                                                                                                       Concluded


       LG Funding LLC v. KMH Inc. and                            Breach of                  Nassau County Supreme                      Pending
       Hicks                                                     Contract and               Court, New York                            On appeal
       605672-2018                                               Action on
                                                                                                                                       Concluded
                                                                 Guarantee




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 Debtor 1      Scott Edward Hicks                                                                          Case number (if known)    18-63610-pcm7


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                    Value of the
                                                                                                                                                         property
                                                                 Explain what happened
       Nationstar Mortgage, LLC                                  Real property at 16988 Basalt Drive, Coeur                   10/23/18           $1,300,000.00
       Bankruptcy Notices                                        D' Alene, ID 83184
       PO Box 619096
       Dallas, TX 75261-9741                                         Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       TD Auto Finance, LLC                                      2016 Cadillac Escalade                                       Voluntary               $67,000.00
       Bankruptcy Notices                                                                                                     Surrender -
       PO Box 551080                                                 Property was repossessed.                                10/29/18
       Jacksonville, FL 32255                                        Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       McCarthy Capital Inc.                                     Foreclosed real property located at 300                      October 2018           $250,000.00
       PO Box 3477                                               CDA Lakeshore Drive, Coeur d'Alene, ID
       Coeur D Alene, ID 83816                                   83814

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was            Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:




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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Michael D. O'Brien, & Associates, P.C.                        Money                                                    Prior to Filing          $8,600.00
       12909 SW 68th Parkway, Suite 160
       Portland, OR 97223
       pdxlegal.com


       Cricket Debt Counseling                                       Money                                                    Prior to filing              $24.00
       2019 SW Stark Street, Suite 200
       Portland, OR 97204
       https://www.cricketdebt.com/
       Michael D. O'Brien & Associates, P.C.


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?              Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access              Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                  Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       KMH Inc.                                                  Idaho Hotel Operation, also owns                    EIN:       XX-XXXXXXX
                                                                 100% of Bingo LLC
                                                                                                                     From-To    2014 - Present
                                                                 Londa Schewe

       Plumli LLC                                                Social Website                                      EIN:       XX-XXXXXXX

                                                                 Karla Hicks                                         From-To    2013 - Present




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       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Grace LLC                                                 South Dakota Hotel Operation                    EIN:         XX-XXXXXXX

                                                                 Rebecca Knox                                    From-To      2015 - 2017

       Chopper LLC                                               South Dakota Hotel Operation                    EIN:         XX-XXXXXXX

                                                                 Rebecca Knox                                    From-To      2009 - 2015

       Martina's Group LLC                                       Real Estate Management                          EIN:         XX-XXXXXXX

                                                                 Joanne Hicks                                    From-To      2006 - 2014

       Hicks LLC                                                 Real Estate Management                          EIN:         xx-xxxxxxx

                                                                 Joanne Hicks                                    From-To      2002-2007

       Charlie Properties LLC                                    Single Asset Real Estate                        EIN:         XX-XXXXXXX

                                                                 None                                            From-To      2013 - Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Debtor 1      Scott Edward Hicks                                                                          Case number (if known)   18-63610-pcm7



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Scott Edward Hicks
 Scott Edward Hicks                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date     December 7, 2018                                               Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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